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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA

               Plaintiff,

      v.

DAVITA INC.;
KENT THIRY

               Defendants.



    MOTION OF THE NATIONAL ASSOCIATION OF CRIMINAL DEFENSE
       LAWYERS TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF
              DEFENDANTS’ JOINT MOTION TO DISMISS



      The National Association of Criminal Defense Lawyers (“NACDL”), 1 by and

through the undersigned counsel, respectfully moves for leave to file a brief as amicus

curiae 2 in the above-captioned criminal proceeding in support of Defendants’ Joint

Motion to Dismiss (Dkt. 49). The proposed amicus brief is filed as an attachment to

this Motion.




1 No publicly-held entity owns an interest of more than ten percent in NACDL.
NACDL does not have any members who have issued shares or debt securities to the
public.
2 NACDL affirms that no counsel for a party authored the proposed brief in whole or

in part, and no person other than amicus and their counsel contributed any money to
fund its preparation or submission.
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                           STATEMENT OF INTEREST

      NACDL understands that amicus briefs are unusual at the district court level

and may be considered unwelcomed additional paper. Neither the Federal Rules of

Criminal Procedure nor this Court’s local rules directly address amicus participation

in criminal proceedings. Nonetheless, this Court has exercised its broad discretion to

accept amicus briefs where they can be of assistance to the Court. E.g., United States

v. Strandlof, No. 1:09-cr-00497 (D. Colo. Jan. 19, 2010), Dkts. 36, 38; United States v.

Bader, No. 07-cr-00338-MSK, 2009 WL 2219258, at *1 n.1 (D. Colo. July 23, 2009).

As set forth below, the long experience of NACDL and its members in promoting

justice and due process in criminal proceedings gives NACDL valuable insight that

makes it uniquely situated to inform the Court of the broader implications of the

issues before it. As explained in the proposed brief, the United States Department of

Justice (“the Department”) has repeatedly ignored warnings from the United States

Supreme Court regarding new and expansive interpretations of criminal statutes and

is again pursuing a criminal prosecution in this case and others like it that defies due

process as a matter of law. The Department’s indictment here should be dismissed in

order for these questions of law to be considered and resolved by an appellate court

before this prosecution—and others like it—are further pursued.

      NACDL is a nonprofit voluntary professional bar association that works on

behalf of criminal defense attorneys to ensure justice and due process for those

accused of crime or misconduct. NACDL has a nationwide membership of many


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thousands of direct members, and up to 40,000 with affiliates. In addition to law

professors and judges, NACDL’s members include private criminal defense lawyers,

public defenders, and military defense counsel who defend their clients in state and

federal courtrooms around the country every day.

      NACDL’s members often represent individuals who are exposed to novel,

untested theories of prosecution that raise serious due process concerns. NACDL

therefore has consistently participated as amicus curiae in cases involving

substantial   questions   of   law   related   to   novel   prosecution   theories   and

overcriminalization before the United States Supreme Court, as well as before federal

district and appellate courts. E.g., Br. of NACDL and The American Fuel &

Petrochemical Manufacturers as Amici Curiae, Yates v. United States, No. 13-7451

(July 7, 2014); Br. for Amici Curiae NACDL, Reason Foundation and Five Criminal

and Health Law Scholars, United States v. Clay, No. 14-12373 (11th Cir. Sept. 26,

2014); Br. of The Innocence Project, North Carolina Center on Actual Innocence, New

England Innocence Project, and NACDL as Amici Curiae, United States v.

MacDonald, No. 08-8525 (4th Cir. June 15, 2010); Amicus Curiae Br. of NACDL,

United States v. Flynn, No. 17-cr-00232 (D.D.C. June 9, 2020).

      Counsel for NACDL has contacted counsel for the parties concerning this filing.

Counsel for Defendants DaVita Inc. and Kent Thiry consent to this filing. The United

States takes no position on NACDL’s request for leave to file an amicus brief. The

proposed amicus brief is filed contemporaneously with and immediately follows this


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Motion. There will be no further delay in the proceedings should this Motion be

granted as NACDL does not intend to seek to be present at any hearing or oral

argument unless this Court requests NACDL’s participation.

      For these reasons, NACDL requests that this Court grant leave to file this

amicus curiae brief in support of the Joint Motion to Dismiss.



Dated: September 21, 2021                     Respectfully submitted,

                                              /s/ Carter G. Phillips
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